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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 22-CR-20114-KMW


   UNITED STATES OF AMERICA,

                Plaintiff,

   vs.

   CARLOS RAMON POLIT FAGGIONI,

             Defendant.
   _________________________________/

         DEFENDANT CARLOS POLIT’S SENTENCING MEMORANDUM

          Defendant Carlos Polit (“Polit”), through undersigned counsel, respectfully

   submits the following sentencing memorandum to urge the Court to impose a

   sentence not greater than six (6) years—the sentence imposed by the Court in

   Ecuador for the alleged bribery scheme, and that which is sufficient but not greater

   than necessary to achieve the purposes of 18 U.S.C. § 3553(a).

          Carlos Polit is nearly seventy-four (74) years old. The government seeks, and

   the Presentence Investigation Report (the “PSI Report”) proposes, a sentence of

   more than nineteen (19) years, which is akin to a life sentence for Polit. See ECF#224

   at 26, ¶ 86; ECF#239 at 18. We urge the Court to impose a sentence of not more

   than six (6) years because a greater sentence would be overly punitive and unjust,
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   especially when compared to the penalties (or lack thereof) imposed on the alleged

   co-conspirators.

          While this Court heard a little about Polit over the course of the trial, there is

   more to his story. A closer look is needed to give the Court a complete picture of

   who Polit is and why his case warrants a lower sentence.1

              a. The Sentencing Guidelines are Advisory and Not Presumptively
                 Reasonable.

          While the Sentencing Guidelines may be “the starting point” for the Court,

   the Guidelines are “not [nearly] the only consideration” for sentencing. Gall v.

   United States, 552 U.S. 38, 49 (2007); United States v. Rosales-Bruno, 789 F.3d

   1249, 1254 (11th Cir. 2015) (noting that “the advisory guidelines range is but one of

   many considerations that a court must take into account in exercising its sentencing

   discretion”). Indeed, the Sentencing Guidelines are “only advisory” and are not

   presumed reasonable. Gall, 552 U.S. at 50; Hughes v. United States, 584 U.S. 675,

   675 (2018).

          The Court must also consider the factors under 18 U.S.C. § 3553(a) to fashion

   the appropriate sentence. Hughes, 584 U.S. at 675. A sentence must be “sufficient,

   but not greater than necessary,” to comply with the purposes listed under §



   1
     The letters written by friends and family in support of Carlos Polit, which are cited to below,
   have been submitted to the Probation Officer to include as part of the PSI Report for this Court’s
   review.
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   3553(a)(2), including the need to reflect the seriousness of the offense, provide just

   punishment, promote respect for the law, deter criminal conduct, and protect the

   public from future crimes by the defendant. § 3553(a)(2). Under § 3553(a), the Court

   must also take into account the “nature and circumstances of the offense,” “the

   history and characteristics of the defendant,” and “the need to avoid unwarranted

   sentence disparities among defendants with similar records.” § 3553(a)(1), (6).

         “The decision about how much weight to assign a particular sentencing factor

   is ‘committed to the sound discretion of the district court.’” Rosales-Bruno, 789 F.3d

   at 1254 (quoting United States v. Williams, 526 F.3d 1312, 1322 (11th Cir. 2008)).

   Thus, the Court may “attach ‘great weight’ to one factor over others.” Id. (quoting

   Gall, 552 U.S. at 57). The overarching instruction, though, is to “impose a sentence

   sufficient, but not greater than necessary,” to fulfill the purposes of sentencing.

   Kimbrough v. United States, 552 U.S. 85, 101 (2007); 18 U.S.C. § 3553(a).

         Although Polit’s advisory guideline range should be 51 to 63 months (as

   opposed to the 235 to 293 months proposed by the PSI Report), the Court can impose

   a lower sentence that accounts for the whole person and the circumstances of the

   case. In light of the factors under § 3553(a), we respectfully urge the Court to impose

   a sentence of not more than six (6) years, which is sufficient, but not greater than

   necessary, to satisfy the purposes of § 3553(a)(2).
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                b. Polit’s History and Characteristics Warrant a Sentence of no
                   Greater Than Six Years.

             Polit was born in 1950 in Bahia de Caraquez, Ecuador. He was the sixth of

   ten siblings and had to grow up quickly after his father passed away from a heart

   attack after battling lung disease. Polit was only eight years old. Polit’s mother was

   left with the heavy burden of raising ten children on her own.

             Years later, when Polit’s mother was diagnosed with Alzheimer’s disease,

   Polit stepped in to do everything possible to preserve her well-being. Polit took on

   the responsibility of helping care for her. He made her well-being a priority, ensuring

   she took her medications correctly and attended her doctor’s appointments. 2 Polit

   was there during her difficult episodes and medical emergencies, providing steady

   support. Polit’s sister, Carmen, recalls how patient Polit was with their mom, often

   helping her with memory exercises. “Carlos was always looking out for her, visiting

   her whenever he could, making time in his work schedule. During his visits, he

   would always sit by her bed to talk to her. He would always arrive happy, saying to

   her: Mommy, I’m here . . . He would ask many things to make her remember. He

   would rub her legs and pay attention to her medicine. This was very sad for him.” 3




   2
       Id.
   3
       Id.
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   Polit often brought his children to visit, demonstrating the importance of patience

   and care with loved ones. 4

             Medical complications mounted, and when Polit’s mother “had a crisis, [Polit]

   would bring the doctors to the house so they could take care of her, since it was

   impossible to move her. He would stay overnight to be with her because he didn’t

   know how she would react since the doctors didn’t give him much hope.”5

   Ultimately Polit’s mother had to be intubated and placed on a respirator. Doctors

   advised she only had four months to live.6 Polit and his siblings were faced with

   difficult end-of-life decisions. Carmen describes how Polit brought the family

   together and persuaded them not to remove the respirator. Polit’s mom lived another

   six years after that. 7

             Polit displayed this same degree of empathy when he encountered someone

   facing hardship. When Carmen’s husband, Polit’s brother-in-law, was diagnosed

   with cancer, Polit showed the same unwavering support and comfort. “He helped me

   with my husband’s cancer, who was a doctor. He always had a very good

   relationship with my husband and encouraged him a lot and made him happy with


   4
       Letter of Karla Polit.
   5
       Letter of Carmen Polit Faggioni.
   6
       Id.
   7
       Id.
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   conversations. When we found out about his illness, we were very desperate, but my

   brother Carlos told me, ‘Don’t worry, do the treatment, I’ll support you in whatever

   you need.’” 8 Polit’s support “gave us the strength and peace of mind to face this

   terrible illness.” 9

             When Polit’s employee’s granddaughter was diagnosed with leukemia, Polit

   treated the situation as if it were his own family. 10 Polit found an excellent doctor

   who practiced in another city and covered all the medical and transportation

   expenses to provide her with the proper treatment:

             He supported her family with this terrible illness. He helped them find
             a good doctor who was in Quito and the little girl lived in Guayaquil.
             He paid for all the expenses to transport her to the hospital where the
             little girl was going to get the treatment she needed in Quito. He also
             covered medical expenses. Unfortunately, she passed away. I
             remember my parents helping the family get through that difficult time
             with support not only financially but emotionally.

   Letter of Jeannette Polit.

             Polit never shied away from helping those in need. When he lived in Ecuador,

   Polit had a guard who lost his house during a heavy storm. 11 “I remember that in his

   house there was a guard, who lived on a hill and due to bad weather and torrential


   8
       Id.
   9
       Id.
   10
        Letter of Jeannette Polit.
   11
        Letter of Guillermo Barrera.
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   rains, his house fell and Carlos gave him the resources that allowed him to build a

   new house.” Sometime later, when the guard’s father passed away, “Carlos in a very

   humanitarian way covered the funeral expenses” so that his friend did not have to

   bear the financial burden during such a difficult time. 12

              Cecilia Pachay, a longtime friend of Polit, witnessed his generosity firsthand

   when her husband faced legal issues related to child support that required an

   attorney. 13 Unable to afford the legal fees, Cecilia and her husband were relieved

   when Polit stepped in to cover the expenses, enabling her husband to address the

   matter.

              Michael, Polit’s son, remembers when Polit helped his friend’s family through

   one of their most trying times. The father of Michael’s close friend unexpectedly fell

   ill and was rushed to the hospital to receive emergency medical care. 14 But without

   health insurance, the family could not afford the father’s treatments because they

   were already struggling financially. Polit covered all the medical expenses to ensure

   his friend’s father received the necessary care.

              The same thing happened when Polit learned that one of his former employees

   was in such dire financial straits that he was on the verge of selling his car out of


   12
        Id.
   13
        Letter of Cecilia Pachay.
   14
        Letter of Michael Polit.
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   necessity. Michael recalls that Polit provided the financial support he needed to

   avoid selling his car and overcome that difficult season.15

              “Carlos is a person who helps others without any interest[.]” 16 This is evident

   in the many instances where Polit helped secure job opportunities for those in need.

   For Guillermo, Polit supported him during a difficult time when Guillermo was

   having trouble making ends meet—Polit offered him to work at his office

   occasionally so that Guillermo could afford to pay his house bills:

              Then I became unemployed and to help me financially he hired me
              occasionally in the office where he worked, so that I could maintain my
              house while I got a job, since my children were young and I had a large
              amount of expenses. At that time I had a great financial need and he
              was always willing to lend me a hand. He also sent me Christmas
              baskets on several occasions to share with my family. Then he talked
              to his brother to give me a stable job.

   See Letter of Guillermo Barrera.

              Polit also helped Marcos Mora obtain employment on two occasions and

   provided Santiago Lindao’s father with a life-changing job opportunity. 17 “My father




   15
        Id.
   16
        Letter of Guillermo Barrera.
   17
      Letter of Marco Mora; Letter of Santiago Josue Lindao Rugel (“He provided my father with a
   job that allowed him to give me a better education, a better environment, and overall, a better
   life.”).
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   went through several tough times at work, and in a country where opportunities are

   scarce, having someone willing to lend a hand is invaluable.” 18

              During his tenure as Comptroller of Ecuador, Polit implemented employment

   policies to help advance people with disabilities, and he was known for mentoring

   and helping motivate and guide the younger professionals employed in the office. 19

   One of the letters describes how an individual with Down Syndrome was provided

   the opportunity to work as an administrative assistant at the Comptroller’s office

   during Polit’s tenure. 20 During one of his visits to the Guayaquil office, Polit “met

   my son [] and after greeting him I talked with him for a long time. This gesture of

   empathy and care towards my son [], motivated the other people who worked in that

   office to follow his example, to such an extent that to this day, all the people who

   work in that office treat [my son] with great affection and consideration. For [my

   son], the workplace is his second home.”21 Polit transformed the inner workings of

   the Comptroller’s office for the better:

              Under Dr. Polit's administration, the institution's standards were
              significantly elevated through a modern and altruistic vision; he
              focused on giving staff the respect and tools necessary for the
              fulfillment of their duties. His first term brought numerous
              administrative changes that modernized the agency.

   18
        Letter of Santiago Lindao.
   19
        Letter of E.M.
   20
        Letter of P.M.J.
   21
        Id.
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              Dr. Polit was always concerned about his staff and their professional
              development, radically changing training methods to update everyone's
              skills in the Comptroller's Office and providing equal opportunities for
              growth. He held merit and opposition contests for hiring new personnel
              so that older employees could take advantage of their retirement rights,
              which had often been postponed due to institutional needs.

    See Letter of E.M.

              Polit was deeply committed to his employees and worked hard to create the

    best working environment despite existing challenges. Prior to his tenure, the

    Comptroller’s office in Guayaquil was housed in a dilapidated building without air

    conditioning. 22 Polit successfully oversaw and directed its reconstruction, and it is

    now one of the most modern facilities in Guayaquil. In 2014, Polit also secured

    salary increases for employees of the Comptroller’s office, further improving the

    working environment. 23

              Polit’s interest in public office did not begin with the Comptroller’s office.

    Polit has led a life marked by public service, which began in 2003 when Polit became

    the Governor of the Province of Guayas in Ecuador. The following year, Polit served

    as the Minister of Social Administration, and in 2005, Polit became the Secretary

    General of the President, before eventually becoming Comptroller General in 2007.




    22
         Letter of Karla Polit.
    23
         Letter of J.O.
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    During his time as Comptroller, Polit was a member of the international

    Organization of American States (“OAS”) and the International Organization of

    Supreme Audit Institutions (“Intosai”).

               In 2016, a devastating 7.8 Richter scale earthquake hit Ecuador wreaking

    havoc on the coastal towns of Bahia de Caraquez and the Maria Auxiliadora

    communities. The destruction was catastrophic; people were left homeless, hospitals

    were destroyed, and the towns were without electricity and water for days. Hundreds

    of people died, and the earthquake was followed by a tsunami warning. Polit’s son

    Charles recalls that his dad was determined to help re-build the communities and

    ensure the safety of its’ people.24 “Despite all the danger, the lack of security amid

    the chaos, diseases, hunger, and thefts for survival, my father decided to go, risking

    his own safety. He said it was his duty as a human to help so many people in need.

    He went and helped a lot. This act stayed with me, and I am immensely proud of my

    father for things like this that he always did to help others.” 25

               In addition to Polit’s dedication to public service, the true hallmark of his life

    has been his unwavering love and commitment to his wife of fifty-three years.

    Together, they have five children, fifteen grandchildren, and eight great




    24
         Letter of Charles Polit.
    25
         Id.
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    grandchildren. A common theme among the letters is how dedicated Polit is, not

    only to caring for and protecting his wife, but also to uniting the family. This is a

    photograph of Polit and Nancy surrounded by the family they built together:




              In 2021, Nancy was diagnosed with Rheumatoid Arthritis and Bronchiectasis.

    She suffered from chronic pain in her arms, legs, and hands, had weakened strength,

    and began experiencing difficulty with everyday tasks. 26 Nancy found it nearly

    impossible to walk or manage stairs. She could no longer open a water bottle, lift

    her arms, or even handle a towel. But Polit “devoted himself to taking care of me,




    26
         Letter of Nancy Polit.
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    never left me alone, encouraged me not to give up, and helped me with the simplest

    routines. He dressed me, combed my hair, and cooked for me.”27 Polit’s eldest

    daughter, Jeannette, describes Polit’s devotion to his wife during this period: Polit

    educated himself about anti-inflammatory foods and prepared them for Nancy,

    managed Nancy’s household chores, and helped her up and down the stairs each

    day. 28

               In 2018, my mother’s health began to deteriorate. She had severe joint
               pain and periodical fevers. A few times my dad had to take her to the
               emergency room at the hospital in the middle of the night because she
               couldn’t take the pain. I was able to witness my father’s unconditional
               love for her and take care of every need. He even learned to cook special
               recipes to help reduce the inflammation, do laundry, and clear the
               house. In the apartment they were living at the time, the bedroom was
               on the second floor . . . my mother was in constant pain where she
               couldn’t even walk. Sometimes he would even carry her down the
               stairs.

    Letter of Jeanette Polit. It is no surprise that the letters describe Polit as the “pillar”

    of the family.

               Nancy also shared stories of Polit’s involvement in non-profit organizations

    in Ecuador. Polit organized medical brigades to provide free medical care to those

    in need. He and his wife personally visited low-income homes without running water

    or electricity to deliver these essential packages. Additionally, Nancy and Polit



    27
         Id.
    28
         Letter of Jeannette Polit.
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    would distribute Christmas baskets, bringing food and gifts to families in need

    during the holiday season. Polit was also involved in a foundation called Casa de la

    Vida, a religious organization dedicated to helping pregnant women, children, and

    individuals with AIDS. Polit and Nancy were also actively involved in their church

    and would participate in raising funds to support their mission.

              The letters submitted by Polit’s family and friends speak of Polit’s true

    character—a devoted family man and a deeply caring and empathetic individual who

    has dedicated his life to the betterment of those around him.

                 c. The Nature and Circumstances of the Offense do not Warrant the
                    Sentenced Proposed by the PSI Report.

              The PSI Report recommends an extreme sentence of 235 to 293 months.

    ECF#224 at 26, ¶ 86. For Polit, who is seventy-three years old, this is an excessive

    life sentence that also fails to account for the nature and circumstances of what took

    place.

              Polit was charged and convicted of money laundering offenses in the United

    States. But as the evidence presented at trial established, and as Polit argued in his

    post-trial motions (ECF#205, ECF#206), Polit had minimal involvement in the

    laundering transactions alleged by the government. 29 His participation in the alleged

    bribery scheme occurred entirely overseas and was not otherwise criminalized by



    29
         Indeed, the government pursued an aiding and abetting theory at trial.
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    the United States at the time—notably, Polit was not charged with violations of the

    Foreign Corrupt Practices Act because the Act does not bring foreign public officials

    within its ambit. This renders Polit’s case unique because of the limited connection

    to the U.S. Indeed, the PSI Report acknowledges there were no identifiable victims

    in this case. ECF#224 at 16, ¶ 37.

          The issue lies in the fact that the predicate offense, bribery of a foreign public

    official in Ecuador, has already been punished by the court (and the country) that

    actually experienced the alleged harm. Polit was sentenced to six years in Ecuador

    for the same conduct giving rise to the money laundering offenses charged here.

    Polit’s alleged conduct occurred in Ecuador, and any alleged consequent harm was

    felt there, too. Ecuador decided that six years was an appropriate sentence, and that

    decision can inform the Court here, as the alleged harm in the U.S. was not greater

    than the alleged harm in Ecuador.

             d. A Sentence of not More Than Six Years Sufficiently Reflects the
                Seriousness of the Offense, Promotes Respect for the Law, Provides
                Adequate Deterrence to Criminal Conduct and Just Punishment
                for the Offense.

          “A sentence must be ‘sufficient, but not greater than necessary to . . . reflect

    the seriousness of the offense, promote respect for the law, provide just punishment,

    deter criminal conduct, and protect the public from the defendant's future criminal

    conduct.” United States v. Walker, 2024 WL 3813210, at *2 (11th Cir. Aug. 14,

    2024) (quoting § 3553(a)(2)). But these considerations should not be “viewed as
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    merely a means to dispense harsh punishment without taking into account the real

    conduct and circumstances involved in sentencing.” Gall, 552 U.S. at 54.

          In Gall, the Supreme Court recognized that fashioning a sentence “to promote

    respect for the law” does not invariably point toward harsher sentences. Indeed, the

    government’s own prosecution decisions relating to the alleged co-conspirators in

    this case (as discussed in subsection (f) below), reflect that prison sentence nearing

    20 years is not necessary in this case. It also suggests that such a sentence is not

    needed to promote respect for the law or to deter criminal conduct. Here, where at

    least four alleged co-conspirators were given non-prosecution agreements and only

    one other alleged co-conspirator was sentenced to 51 months (later reduced to 37

    months), a prison term as high as the one recommended by the PSI Report “may

    work to promote not respect, but derision, of the law[.]” Id. (emphasis added).

          A proposed offense level of 38 is excessive and disproportionate and

    overstates Polit’s personal culpability in the alleged offense. To illustrate the

    disparity, the following table identifies other offenses that the Sentencing Guidelines

    consider serious enough to warrant a base offense level close to that range:

     Crime                        Base Offense Level           Sentencing Guidelines

     Aircraft piracy or           38                           § 2A5.1(a)
     attempted aircraft piracy
     not resulting in death.

     Distribution or              38                           § 2D1.1(a)(2)
     manufacture of a
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     controlled substance and
     death or serious bodily
     injury resulted from the
     use of the substance.

     Wire fraud causing loss     37                          § 2B1.1(a)(1), (b)(1)(P)
     in excess of
     $550,000,000 without
     other aggravating
     characteristics.

     Selling or buying           38                          § 2G2.3
     children for use in the
     production of
     pornography.

     Receipt, possession, or    Up to 36                     § 2K2.1(a), (b)(1)(E)
     transportation of firearms
     or ammunition involving
     at least 200 or more
     firearms.

     Willful tax evasion of      36                          §§ 2T1.1(a)(1), 2T4.1(P)
     more than $550,000,000
     of tax loss.


          A sentence of not more than six years, consistent with the punishment

    imposed by Ecuador, will achieve the purposes of § 3553(a)(2), and anything more

    would be greater than necessary under the facts of this case.
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                 e. In Light of the Offense Conduct, a Sentence Greater than Six Years
                    Would be Excessively Punitive for Polit, who is an Elderly Inmate,
                    and is Not Necessary to Protect the Public from Further Crimes.

              By the time this Court sentences Mr. Polit, he will be only weeks away from

    turning seventy-four years old. He poses no risk of recidivism and no danger to the

    community.

              “According to the Sentencing Commission, ‘age is generally a strong factor

    influencing the likelihood of committing a crime,’ with ‘older offenders . . .

    substantially less likely than younger offenders to recidivate following release.’”

    United States v. Friedlander, No. 8:08-CR-318-T-27TGW, 2021 WL 2661109, at

    *3 (M.D. Fla. June 29, 2021). A 2017 study published by the U.S. Sentencing

    Commission acknowledges that inmates over the age of sixty are substantially less

    likely to re-offend in comparison to their younger counterparts. 30 The study followed

    25,431 offenders and discovered that over an eight-year period, only 13.4% of

    offenders aged sixty-five or older were re-arrested compared to the 67.6% of

    offenders younger than twenty-one that were re-arrested. 31 Moreover, for offenders

    with a criminal history category of I (like Polit), 53% of offenders younger than




    30
      U.S. Sentencing Comm'n, The Effects of Aging on Recidivism Among Federal Offenders, at pp.
    11, 30 (Dec. 2017), https://www.ussc.gov/research/research-reports/effects-aging-recidivism-
    among-federal-offenders.
    31
         The Effects of Aging on Recidivism Among Federal Offenders, at p. 3.
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    thirty were re-arrested compared to only 11.3% of offenders aged sixty or older. 32

    See also United States v. Clarke, No. 4:92CR4013-WS/CAS, 2019 WL 7498752, at

    *3 (N.D. Fla. Sept. 11, 2019) (recognizing that the defendant, at forty-seven years

    old, was “currently at an age at which recidivism rates decline substantially”);

    Friedlander, 2021 WL 2661109, at *3 (acknowledging that the defendant’s “medical

    conditions and age make him statistically less likely to reoffend”).

               Additionally, elderly offenders also require more medical attention than

    younger offenders. 33 While the BOP is “required to provide [inmates] with medically

    necessary healthcare[,]” the “recruitment of medical professionals is one of the

    BOP’s greatest challenges and staffing shortages limit inmate access to medical

    care.” 34 The Officer of the Inspector General discovered that the BOP’s “limited

    institution staff and inadequate staff training affect the BOP’s ability to address the

    needs of aging inmates.” Id. at i. This is because “the probability of an aging inmate

    having a catastrophic medical issue [is] about eight times higher than for a younger


    32
         Id.
    33
       U.S. Dep't of Justice Office of the Inspector Gen., The Impact of an Aging Inmate Population
    on the Federal Bureau of Prisons (2016), at p. i (recognizing that “aging inmates are more costly
    to incarcerate than their younger counterparts due to increased medical needs”),
    https://oig.justice.gov/reports/2015/e1505.pdf.
    34
       U.S. Dep't of Justice Office of the Inspector General, Review of the Federal Bureau of Prisons’
    Medical Staffing Challenges (2016) (finding that BOP experienced severe medical staff shortages,
    leading to problems meeting the medical needs of prisoners, requiring the use of outside hospitals,
    and        endangering         the       safety      and       security       of      institutions)
    https://oig.justice.gov/reports/2016/e1602.pdf.
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    inmate.” Id. at 15. Moreover, the “physical infrastructure of BOP institutions cannot

    adequately house aging inmates” due to the shortage of lower bunks and

    overcrowding, making it more difficult for elderly inmates. Id. at 23–26.

              In six years, Polit will be eighty years old. According to the CDC, the life

    expectancy of males in the United States is 74.8 years.35 Thus, as he enters his 80s,

    Polit’s health and current heart condition will likely worsen, making a custodial

    sentence of more than six years more onerous and punitive for Polit to serve, and

    increasing the likelihood that he will die in prison while serving a sentence for a non-

    violent money laundering offense.

                 f. The Need to Avoid Unwarranted Sentencing Disparities Warrants
                    a Sentence Well Below the Sentence Recommended by the PSI
                    Report.

              Section 3553(a)(6) instructs the Court to consider “the need to avoid

    unwarranted sentence disparities among similarly situated defendants.” 18 U.S.C. §

    3553(a)(6). Indeed, the goal of avoiding unwarranted sentencing disparities remains

    a key factor. See United States v. Owens, 464 F.3d 1252, 1255 (11th Cir. 2006). At

    least four alleged co-conspirators remain unindicted and received non-prosecution

    agreements in the United States. The only co-conspirator who was indicted, Juan

    Ribas, was sentenced to fifty-one (51) months imprisonment, later reduced to thirty-

    seven (37) months. The government is seeking an extremely harsh sentence for Polit


    35
         See https://www.cdc.gov/nchs/fastats/life-expectancy.htm.
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    that is grossly disproportionate to the punishment imposed on the other alleged co-

    conspirators. This Court has wide discretion to impose a sentence that is

    proportionate to those cases.

           Jose Santos, for instance, the key Odebrecht representative that testified he

    paid Polit bribes in Ecuador and which the government identifies as “Co-Conspirator

    2” in the Indictment (ECF#1), received a non-prosecution agreement from the U.S.

    government. See Exhibit 1. 36 But that’s not all. As of the date of his testimony,

    Santos was not punished by either Ecuador (where prosecution of Santos was

    declined) or Brazil, his home country where he allegedly pled guilty.

           Notably, Santos testified that he paid bribes to a host of different public

    officials. The evidence established that Santos was the head Odebrecht

    representative in Ecuador between 2010 through 2016. In those six years, Santos

    testified that he paid bribes to Jorge Glas (the vice president of Ecuador), Ciro

    Moran, Ricardo Rivera, Carlos Pareja, Alexis Mera (the legal secretary to Ecuador’s

    president), Freddy Neuman, along with others. Still, the government agreed not to




    36
       The government alleged that it “was the purpose of the conspiracy” for Polit to launder bribes
    that Polit “solicited and received from Co-Conspirator 2 [Santos] and 3, among others, into and
    through bank accounts in the Southern District of Florida and elsewhere[.]” ECF#1 at 4-5 (“From
    in or around 2010 to 2014, Co-Conspirator 2 paid approximately $8 million in cash bribes to [Polit]
    in exchange for using his official position as comptroller to influence official actions by the
    Ecuador comptroller's office in order to benefit Odebrecht and its business in Ecuador.”).
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    prosecute Santos because he “agreed to [plead] guilty in Brazil for the same

    conduct.” Id. at 1.

           Ecuador did not prosecute Santos for the same reason. See Exhibit 2. Ecuador

    relied on Santos’ “plea bargain agreement” with Brazil, which allegedly included

    the following sanctions against Santos:

                 1. A penalty of 8 years in prison;

                 2. The permanent use of a monitor;

                 3. 22 hours of community service per month;

                 4. Payment of 5,165,607.00 (five million one hundred sixty-five
                    thousand six hundred seven [Brazilian] reals);

                 5. Confiscation of the personal property and real estate received
                    through illicit financial transactions and personal property
                    and real estate acquired from the Structured Operations
                    Sector of Grupo Odebrecht; and

                 6. Prohibition from contracting with public entities.

    Id. at 15.

           Ecuador decided “not to prosecute” Santos because “he cannot be tried two

    times for the same acts, considering furthermore that the penalties imposed by the

    Federative Republic of Brazil are quantifiably higher than those he could receive in

    Ecuador.” Id. at 29. Ecuador based its decision on the “universal principle of

    criminal law, non bis in idem,” citing to the Constitution of the Republic of Ecuador,

    International Covenant on Civil and Political Rights, American Convention on
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    Human Rights, Inter-American Court of Human Rights, Comprehensive Organic

    Criminal Code, and the Constitutional Court of Ecuador. Id. at 24–28.

          Yet, although both the United States and Ecuador promised not to prosecute

    Santos because of his plea agreement with Brazil, Santos testified that as of that date,

    eight years after he signed the Brazilian plea agreement, he had yet to serve out any

    of those terms.

          Geraldo De Souza, another Odebrecht representative that the government

    asserted “participated in a bribery and money laundering scheme” involving Polit,

    was also never prosecuted in the United States, Ecuador, nor Brazil. See Exhibit 3 at

    1. According to the government, De Souza, the finance manager of Odebrecht for

    Ecuador, had the “responsibility [of] managing the generation of off-book cash in

    Ecuador that was used by Conceicao [Santos] to pay bribes on behalf of Odebrecht

    to certain government officials[.]” Id. at 7. Yet, De Souza received a non-prosecution

    agreement from the U.S. government.

          Olivio Rodrigues, a senior Odebrecht member dedicated to paying bribes to

    public officials not just in Ecuador but all over the world, also received a non-

    prosecution agreement from the U.S., even though Rodriguez he traveled to Miami

    and had meetings here relating to Odebrecht’s bribery operations. See Exhibit 4.

          Diego Sanchez, identified as “Co-Conspirator 3” in the Indictment, was

    likewise not charged. See Exhibit 5. The government asserted that Sanchez directly
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    “launder[ed] large sums of cash on Polit’s behalf” that Sanchez knew was proceeds

    of criminal activity and paid Polit a bribe by wiring the funds to an account in South

    Florida. Id. at 7. Sanchez also received a non-prosecution agreement from the U.S.

    government.

          Federico Gomez, another co-conspirator alleged by the government to be

    involved in the money laundering, was also given direct-use immunity in exchange

    for his cooperation. See Exhibit 6.

          The only alleged co-conspirator that was prosecuted in the U.S. was Juan

    Ribas, the chairman for Ecuador’s state-owned insurance company, Seguros Sucre,

    and advisor to the then-President of Ecuador. See United States v. Ribas Domenech,

    Case No. 20-cr-20179 (ECF#76). Ribas, an Ecuador public official, pled guilty to

    conspiracy to commit money laundering for his participation in another money

    laundering scheme that involved Ribas soliciting and receiving millions of dollars

    in bribes and laundering the proceeds in the U.S., as well as other countries, in

    exchange for using his official positions to award contracts with Seguros Sucre. Id.

    Ribas was sentenced to fifty-one (51) month’s imprisonment, with three years’

    supervised release, and a $100 special assessment, which was later reduced to thirty-

    seven (37) months. See ECF#224 at 6, ¶ 4; Ribas Domenech, Case No. 20-cr-20179

    (ECF#94 and ECF#114).
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          Not only is the sentence sought by the government for Polit unreasonably

    harsh compared to others involved in this case, but it is also excessive when

    compared to sentences received in other money laundering cases. In United States

    v. Claudia Patricia Diaz Guillen, for instance, defendant Diaz was the National

    Treasurer of Venezuela, a high-ranking foreign official accused of receiving over

    $136 million in bribes, which Diaz and her husband allegedly concealed and

    laundered. See Case No. 18-CR-80160-WPD, at ECF#44 at pp. 14, 17; ECF#363 at

    pp. 1-2. Defendant Diaz was found guilty of money laundering and conspiracy to

    commit money laundering at trial. Id. at ECF#310. Judge Dimitrouleas sentenced

    Diaz to fifteen (15) years imprisonment, with a $75,000.00 fine, and ordered

    forfeiture in the amount of $135,752,007.46. Id. at ECF#374 at pp. 2, 6-7. Diaz’

    sentence was later reduced to twelve (12) years, pursuant to 18 U.S.C. § 3582(c)(2),

    because the Sentencing Guidelines were subsequently amended to permit a two-level

    reduction for those that qualify as zero-point offenders under U.S.S.G. § 4C1.1. See

    id. at ECF#422; ECF#448.

          Polit, who even by the government’s account received substantially less in

    alleged bribes ($16.5 million) that were then allegedly laundered, should be

    sentenced to a term comparably lower than Diaz.
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              g. The Sentencing Guidelines as Applied to Polit are Overly Punitive
                 and Overstate the Personal Culpability of Polit.

          In this case, the sentencing guidelines and the adjusted offense level

    recommended by the PSI Report are more punitive than necessary to meet the

    sentencing factors of § 3553(a). Polit asks that the Court vary downward and

    sentence Polit below the advisory Guideline range to not more than six years to

    reflect the true nature of Polit’s alleged involvement in the offense of conviction.

                                         Conclusion

          For these reasons, the Court should impose a sentence of no greater than six

    (6) years, which is consistent with the sentence imposed by Ecuador for the conduct

    sustaining the charged offenses.

                                            Respectfully submitted,

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